FILED: DECEMBER  17, 2008
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08CV7225
JUDGE GOTTSCHALL
MAGISTRATE JUDGE COX
EDA                      IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

        FRANK VAZQUEZ, JR.,                                 )
                                                            )
              Plaintiff,                                    )     Case No.:
                                                            )
                       v.                                   )     COMPLAINT FOR VIOLATION OF
                                                            )     CIVIL RIGHTS AND STATE
        RENE HILDAGO, D.D.S,                                )     SUPPLEMENTAL CLAIMS
        CHICAGO POLICE OFFICER RENE                         )
        HILDAGO, CHICAGO POLICE                             )
        OFFICER S. GLOMBICKI, Star # 17,                    )
        and THE CITY OF CHICAGO,                            )     JURY DEMANDED

              Defendants.

                                             JURISDICTION AND VENUE

                1.         This action arises under the United States Constitution and the Civil Rights Act of

        1871 (42 U.S.C. Section 1983). This court has jurisdiction under and by virtue of 28 U.S.C.

        Sections 1343, 1331, and 1367.

                2.         Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

        complained of arose in this district.

                                                        PARTIES

                3.         At all times herein mentioned, Plaintiff, FRANK VAZQUEZ, JR., was and is a

        citizen of the United States, and was within the jurisdiction of this court.

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        dentist practicing at 9456 South Commercial Avenue, in Chicago, Illinois. Further, as alleged

        below, Hildago, D.D.S. was engaged in joint action with certain police offer defendants and as such

        was acting under color of law. This Defendant is being sued in his individual capacity.
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       5.      At all times herein mentioned, Defendant Chicago Police Officer Rene Hildago,

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         )was employed by the City of Chicago Police Department, and was acting

under color of state law and as the employee, agent, or representative of the City of Chicago

Police Department. This Defendant is being sued in his individual capacity.

       6.      At all times herein mentioned, Defendant Chicago Police Officer S. Glombicki,

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under color of state law and as the employee, agent, or representative of the Chicago Police

Department. This Defendant is being sued in his individual capacity.

       7.      At all times herein mentioned, the City of Chicago was a political division of the

State of Illinois, existing as such under the laws of the State of Illinois. At all relevant times, the

City of Chicago maintained, managed, and/or operated the City of Chicago Police Department.

                                   FACTUAL ALLEGATIONS

       8.      On or about March 18, 2008, Plaintiff was an invited guest at the offices of

Hildago, D.D.S. located at 9456 South Commercial Avenue, in Chicago, Illinois.

       9.      On that date and at that location, Plaintiff made a peaceful, verbal complaint to

Hildago, D.D.S. about previous services rendered.

       10.     After making said complaint, Hildago, D.D.S., pushed Plaintiff against a wall.

       11.     Plaintiff did not consent to being pushed.

       12.     There was no legal cause to push Plaintiff against a wall.

       13.     Hildago, D.D.S. was not in any danger and/or perceived danger that would have

required him to defend himself.

       14.     Rather, Hildago, D.D.S., pushed Plaintiff in retaliation for Plaintiff making a

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       15.     After being pushed, Plaintiff left the location of 9456 South Commercial Avenue,

Chicago, Illinois.

       16.     Plaintiff went to the police station located at 2255 East 103rd Street in Chicago,

Illinois to make a police report against Hildago, D.D.S. for battery.

       17.     While filling out paperwork at the police station, Plaintiff was arrested for alleged

battery to Hildago, D.D.S.

       18.     Plaintiff never battered Hildago, D.D.S.

       19.     There was no reason to believe that Plaintiff engaged in any illegal activity.

       20.     There was no legal cause to arrest Plaintiff.

       21.     Plaintiff did not consent to the seizure of his person.

       22.     Upon information and belief, Plaintiff alleges that P.O. Hildago is the father of

Hildago, D.D.S.

       23.     Plaintiff is informed and believes and alleges thereon that P.O. Hildago, Hildago,

D.D.S., and P.O. Glombicki engaged in joint action and entered into an agreement to harass

Plaintiff by falsely arresting and bringing false criminal charges against Plaintiff. These are not

routine police practices.

       24.     Plaintiff is informed and believes and alleges thereon that P.O. Hildago, Hildago,

D.D.S., and P.O. Glombicki conspired with one another to cause Plaintiff to be falsely arrested

and for false criminal charges to be brought against Plaintiff.

       25.     The arrest of Plaintiff was in retaliation for Plaintiff making complaints about

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report against Hildago, D.D.S.




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        26.      P.O. Hildago and P.O. Glombicki used their police status and authority to cause

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        27.      P.O. Glombicki wrongfully a
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        28.      As a result of being arrested, Plaintiff was never permitted to file a police report

against Hildago, D.D.S.

        29.      The conduct of P.O. Hildago, Hildago, D.D.S., and P.O. Glombicki interfered

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           rstAmendment right to file a police report.

        30.      Hildago, D.D.S, P.O. Hildago, and P.O. Glombicki, in furtherance of the above

referenced conspiracy, caused Plaintiff to be falsely charged with battery.

        31.      In order to cause Plaintiff to be falsely charged with battery, Hildago, D.D.S.

signed a false criminal complaint against Plaintiff for battery.

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        33.      By reason of the above-described acts and omissions of Defendants, Plaintiff

sustained injuries, including but not limited to, humiliation and indignities, and suffered great

mental and emotional pain and suffering all to his damage in an amount to be ascertained.

        34.      The aforementioned acts of Defendants were willful, wanton, malicious, oppressive

and done with reckless indifference to and/or callous disregard for Plaintiff's rights and justify the

awarding of exemplary and punitive damages in an amount to be ascertained according to proof at

the time of trial.

        35.      By reason of the above-described acts and omissions of Defendants, Plaintiff was

required to retain an attorney to institute, prosecute and render legal assistance to him in the within

action so that he might vindicate the loss and impairment of his rights. By reason thereof, Plaintiff



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Section 1988, the Equal Access to Justice Act or any other provision set by law.

                                           Count I
                       Plaintiff Against All Individual Defendants for
                   Conspiracy to Deprive Plaintiff of Constitutional Rights

         36.   Plaintiff hereby incorporates and re-alleges paragraphs one (1) through thirty-five

(35) hereat as though fully alleged in this place.

         37.   As alleged, Defendants and other conspirators entered into a conspiracy by

undertaking the actions described in paragraphs twenty-three (23) through thirty-one (31) above,

resulting in the false arrest and wrongful prosecution of Plaintiff.

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furtherance of said agreement resulted in the deprivations of rights, privileges, and immunities

secured to him by the Fourth and Fourteenth Amendments to the Constitution of the United

States and laws enacted thereunder.

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process rights. Therefore, all Individual Defendants are liable for conspiracy under 42 U.S.C. §

1983.

                                            COUNT II
                         Plaintiff Against All Individual Defendants for
                                   Retaliation and Interference

         40.   Plaintiff hereby incorporates and re-alleges paragraphs one (1) through thirty-five

(35) hereat as though fully alleged at this place.

         41.   Plaintiff is entitled, under the First Amendment to the Constitution of the United

States, to make complaints about services rendered and to file police reports for wrongs

committed to his person.



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       42.     Plaintiff exercised this Constitutionally protected right when he made a peaceful,

verbal complaint to Hildago, D.D.S about the dental services he rendered and when Plaintiff

filed and/or attempted to file a police report.

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Defendants conspired to prevent Plaintiff from filing his police report.

       44.     Defendants, in conspiracy with one another, retaliated against Plaintiff when

Hildago, D.D.S. assaulted and battered Plaintiff without being charged for such criminal

conduct, when Defendants caused Plaintiff to be falsely arrested, and when Defendants caused

false criminal charges to be brought against Plaintiff.

       45.     Therefore, Defendants are liable to Plaintiff for Retaliation and Interference under

42 U.S.C. § 1983.

                                          COUNT III
              Plaintiff against Defendants P.O. Hildago and P.O. Glombicki for
                            False Arrest and Unreasonable Seizure

       46.     Plaintiff hereby incorporates and re-alleges paragraphs one (1) through thirty-five

(35) hereat as though fully alleged at this place.

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privileges, and immunities secured to him by the Fourth Amendment to the Constitution of the

United States and laws enacted thereunder.

       48.      Defendants caused the arrest of Plaintiff unreasonably and without probable or

any legal cause to believe that Plaintiff had committed any crime. Therefore, Defendants and

each of them are liable for false arrest under 42 U.S.C. § 1983.




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                                            COUNT IV
                          Plaintiff against Defendant Hildago, D.D.S for
                             False Arrest and Unreasonable Seizure

        49.     Plaintiff hereby incorporates and re-alleges paragraphs one (1) through thirty-five

(35) hereat as though fully alleged at this place.

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and immunities secured to him by the Fourth Amendment to the Constitution of the United

States and laws enacted thereunder.

        51.     Defendant assisted in causing the arrest of Plaintiff by willfully acting in concert

with agents of the State, P.O. Hildago and P.O. Glombicki.

        52.     The arrest of Plaintiff was unreasonable and without probable or any legal cause

to believe that Plaintiff had committed any crime. Therefore, Defendant is liable for false arrest

under 42 U.S.C. § 1983.

                                                COUNT V
                             Plaintiff Against Defendant Hildago, D.D.S for
                             the Supplemental Claim of Assault and Battery

        53.     Plaintiff hereby incorporates and re-alleges paragraphs one (1) through thirty-five

(35) hereat as though fully alleged at this place.

        54.     Defendant acted intentionally, and willfully and wantonly, in causing the assault,

battery and emotional distress of Plaintiff.

        55.     Plaintiff did not consent to such conduct.

        56.     Defendant was not defending himself when he assaulted and battered Plaintiff.

        57.     As a result of the foregoing, Plaintiff was injured as set forth above.




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                                              COUNT VI
                                  Plaintiff Against All Defendants for
                           the Supplemental Claim of Malicious Prosecution

         58.   Plaintiff hereby incorporates and re-alleges paragraphs one (1) through thirty-five

(35) hereat as though fully alleged at this place.

         59.   Defendants Hildago, D.D.S., P.O. Hildago, and P.O. Glombicki conspired and/or

acted individually to cause a criminal prosecution to commence against Plaintiff.

         60.   Defendant Hildago, D.D.S, Defendant P.O. Hildago, a police officer employed by

the City of Chicago, and Defendant P.O. Glombicki, a police officer employed by the City of

Chicago, maliciously commenced and caused to be continued a criminal action against Plaintiff

without probable cause for the institution of these proceedings. As a result, Plaintiff was injured

emotionally, financially, and otherwise from the loss of certain constitutionally protected liberty

and related rights.

         61.   Defendants Hildago, D.D.S., P.O. Hildago, and P.O. Glombicki conspired and/or

acted individually to initiate, facilitate, and/or continue this malicious prosecution by the creation

of false evidence, by giving false police reports, preparing and signing false criminal complaints,

and/or by preparing false witness statements.

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2008.

         63.   The City of Chicago is liable to Plaintiff for the acts of Defendants P.O. Hildago

and P.O. Glombicki pursuant to the doctrine of respondeat superior.

         64.   Therefore, Defendants Hildago, D.D.S., P.O. Hildago, P.O. Glombicki, and the

City of Chicago are liable under the supplemental state law claim of Malicious Prosecution.




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                                           COUNT VII
                               Plaintiff Against All Defendants for
                             the Supplemental Claim of False Arrest

        65.     Plaintiff hereby incorporates and re-alleges paragraphs one (1) through thirty-five

(35) hereat as though fully alleged at this place.

        66.     Defendants caused the arrest of Plaintiff unreasonably and without probable or

any legal cause to believe that Plaintiff had committed any crime.

        67.     The City of Chicago is liable to Plaintiff for the acts of the Defendants P.O.

Hildago and P.O. Glombicki pursuant to the doctrine of respondeat superior.

        68.     Therefore, Defendants and each of them are liable under the supplemental state

claim of false arrest.




                                     PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff, Frank Vazquez, Jr., by and through his attorneys, ED FOX &

ASSOCIATES, requests judgment as follows against the Defendants, and each of them:

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        3.      That the Defendants, other than the City of Chicago, b  er eq ui
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                attorneys fees pursuant to Section 1988 of Title 42 of the United States Code, the
                Equal Access to Justice Act or any other applicable provision;

        4.      That the Defendants, other than the City of Chicago, be required to pay punitive and
                exemplary damages in a sum to be ascertained;

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  6.    That Plaintiff have such other and further relief as this Court may deem just and
        proper.



                                     BY:    s/ Meghan A. Gonnissen
                                            Meghan A. Gonnissen
                                            ED FOX & ASSOCIATES
                                            Attorneys for Plaintiff
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                                            mgonnissen@efox-law.com




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               PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY



                                  BY:    s/ Meghan A. Gonnissen
                                         Meghan A. Gonnissen
                                         ED FOX & ASSOCIATES
                                         Attorneys for Plaintiff
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